Case: 1:17-cv-00101 Document #: 56-4 Filed: 06/12/17 Page 1 of 6 PageID #:447




                     EXHIBIT D
Case: 1:17-cv-00101 Document #: 56-4 Filed: 06/12/17 Page 2 of 6 PageID #:448




 District Court, Denver County, Colorado
 Court Address:
                                                                DATE FILED: April 2, 2( 15 1:07 PM
 1437 Bannock Street, Denver, Colorado 80202
 In re the Interest of:

 JOANNE BLACK,
                                    Protected Peson.

                                                              A COURT USE ONLY A
 Attorney or Party Without Attorney (Name and Address)       Case Number:
                                                             12 PR 1772
 Phone Number:                 Email:
 FAX Number:                  Atty . Reg. #:                 Courtroom 224
                         STATUS CONFERENCE ORDER

 THIS MATTER came before the Court for a Status Conference on April 2, 2015.
 Present in person were: Lisa DiPonio, Esq. Court Appointed Counsel for the
 Protected Person (PP) Joanne Black; Conservator Bernard Black with Counsel
 Carl Glatstein, Esq.; Guardian ad Litem (GAL) for the PP Gayle Young, Esq.;
 Interested Persons and Cousins Anthony Dain, Esq. and Cherie Wrigley; Special
 Conservator Nominee Nancy Peterson, Esq. Present by telephone were: PP
 Joanne Black with New York Counsel Ira Saltzman, Esq.; Esan Pinto.

 Discussion was held on the record to clarify the case status for this matter and
 the cases in New York State Supreme Court and Surrogate Courts. The parties
 represent there is no dispute as to the interpretation of Renata Black's Will.
 Objections have been asserted as to Bernard Black's management of his sister's
 funds and particularly with respect to the division of POD accounts left to Joanne
 Black by her mother, Renata Black. The parties have stipulated to a forensic
 accounting of the Conservatorship estate, including the affected trusts, the
 disclaimer of Fidelity and Vanguard accounts, POD benefits for all accounts
 which disclaimers were used to transfer funds into the Renata Black Estate, the
 Roth IRA, all amounts paid to attorneys and accounts - in short, a complete
 review of all funds and assets related to Joanne Black both before and after the
 disclaimer, by Pamela Kerr, CPA. This Court has reviewed the record including
 the various reports, responses, objections, exhibits and attachments, as well as
 relevant authority and enters the following Orders pending an evidentiary
 hearing:

    1. Bernard Black is the subject of allegations of misconduct by the PP and
       her cousins which he vigorously denies. It appears to the Court to be
       prudent to suspend his authority pending an evidentiary hearing and the
       results of Ms. Kerr's forensic accounting review. This suspension is not a
       determination of misconduct, but rather an attempt by this Court to
       address concerns raised by the PP, her cousins, the GAL and Ms. Black's
       attorneys, and to allow the PP to continue to receive funds for her monthly

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Case: 1:17-cv-00101 Document #: 56-4 Filed: 06/12/17 Page 3 of 6 PageID #:449




       living expenses and other necessary expenses without contributing to the
       family conflict.

    2. This Court finds it should finalize the current allegations in Colorado prior
       to transfer of the conservatorship to New York State, where the PP
       resides. The Court is informed that a hearing for the appointment of a
       guardian and conservator (Guardian of the Person and Property) is
       scheduled in the New York Supreme Court on April 30 and May 1, 2015.
       This Court finds that proceeding should continue and it is proper for the
       New York Court to make a determination as to whether Mr. Black should
       continue to manage his sister's funds as guardian of her property, which is
       the equivalent of a conservator in Colorado, or whether Ms. Wrigley or a
       professional fiduciary or another individual should be appointed to that role
       going forward. There is no guardian/guardian          of the person appointed for
       Joanne Black in the State of Colorado, as Mr. Black's petition for such
       appointment was dismissed by this Court on October 27, 2014 in
       deference to the New York Court's jurisdiction where Ms. Black resides.

    3. Accordingly, the Court Suspends Bernard Black as Conservator, pending
       further hearing. Mr. Black's Letters expire April 11, 2015 and shall not be
       reissued.

    4. The Court finds the appointment of a Special Conservator pursuant to 15-
       14-112, C.R.S. to serve in an interim capacity, pending the appointment of
       a permanent conservator or Guardian of the Property in New York is
       appropriate. The Court appoints Nancy Peterson, Esq. to serve as Special
       Conservator. Letters may issue and shall expire upon completion of these
       proceedings in Colorado and transfer to the fiduciary appointed by the
       Court in New York.

    5. Ms. Peterson shall have the responsibility to manage Ms. Black's Social
       Security and Workmen's Compensation benefits and to pay Ms. Black's
       reasonable and necessary expenses. Ms. Peterson shall secure the
       benefits and cause them to be deposited into a conservatorship              account,
       from which Ms. Peterson shall pay Ms. Black's monthly living and other
       reasonable expenses. Mr. Black shall cooperate with redirecting the funds
       from these two sources into the conservatorship account which Ms.
       Peterson shall establish. All funds managed by Ms. Peterson shall be
       turned over to the conservator/guardian of the property appointed by the
       Court in New York upon completion of the proceedings in Colorado. It is
       not this Court's intention that Ms. Peterson be required to obtain court
       approval for Ms. Black's regular monthly living expenses or for her
       necessary physician, mental health or similar expenses.

    6. All other assets related to Ms. Black are frozen, pending final hearing.
       Should there be any requests for funds from the supplemental needs or . :1EC'"'             ·
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Case: 1:17-cv-00101 Document #: 56-4 Filed: 06/12/17 Page 4 of 6 PageID #:450




       other trust to benefit Ms. Black which cannot be paid from the
       conservatorship account, the request may be submitted to the Trustee,
       who shall in turn obtain permission from this court to disburse funds before
       any payment is made. All requests for funds to be paid from the
       conservatorship account or from any trust shall be supported by written
       documentation. Ms. Peterson shall obtain copies of any rental or other
       agreements to document Ms. Black's ongoing monthly living expenses.

       a. Mr. Black's request for an exception to pay for taxes is granted. Trust
          funds may be used to pay for legal and accounting fees related to the
          preparation of tax returns and to pay any taxes due for Ms. Black. Full
          documentation of the fees, costs and tax payments shall be provided
          to Ms. Kerr.

    7. It has been suggested to the Court that no one is currently named as the
       Representative Payee for Ms. Black's social security benefits. It appears
       the former Representative Payee was Esan Pinto, but the funds were
       redirected by Mr. Black into one of the Trusts he established for Ms. Black.
       Mr. Black represents there are social security payments currently being
       held by the Social Security Administration due to the lack of a
       Representative Payee. The parties shall confer regarding who should
       serve as the Representative Payee or whether Ms. Peterson should serve
       in that capacity, pending a final determination. Regardless of who is
       named to serve as Representative Payee, that individual if other than Ms.
       Peterson, shall cooperate and ensure the social security benefits are
       retrieved and deposited into the conservatorship account to be managed
       by Ms. Peterson.

    8. Mr. Pinto shall provide a complete accounting with documentation of all
       funds that were held under his control to Ms. Kerr and Ms. Peterson, who
       shall ensure copies are provided to Counsel of record including Mr.
       Saltzman, the GAL, Mr. Dain and Ms. Wrigley.

    9. Mr. Glatstein has represented that he has obtained a transcript of the
       proceedings held before this Court to appoint Mr. Black as conservator.
       Mr. Glatstein shall file a copy of the transcript with this Court and provide
       copies to Counsel of record including Mr. Saltzman, the GAL, Mr. Dain
       and Ms. Wrigley.

    10. Mr. Black has requested trust and/or conservatorship funds to pay for his
       attorney fees and costs for defending his actions as conservator. The GAL
       and CAC DiPonio also request funds to pay their fees. The Court finds
       there are sufficient funds in the conservatorship estate to pay these fees
       and costs, but finds it is more appropriate to resolve the fee issues after
       the results of the forensic accounting are known and the evidentiary
        hearing on the disclaimer issue has been held. Accordingly, the payment ~~~
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Case: 1:17-cv-00101 Document #: 56-4 Filed: 06/12/17 Page 5 of 6 PageID #:451




       of attorney fees and costs is held in abeyance pending further
       proceedings in this Court.

    11. Mr. Glatstein shall provide complete copies of all trusts involving Ms. Black
       to the Court, Counsel, GAL, Mr. Dain and Ms. Wrigley, including the Issue
       Trust, the 2013 Trust and the Supplemental Needs Trust, however they
        may be titled as well as any other trusts affecting Ms. Black.

    12. Ms. Wrigley asserts she has been paying for Ms. Black's living expenses
       and needs from her own, personal funds, has provided documentation to
        Mr. Black but has not received any reimbursement. It is unclear to the
        Court why it would be necessary for Ms. Wrigley to pay any of Ms. Black's
       expenses from her own funds. Regardless, Ms. Wrigley is directed to
        provide an itemization of all amounts paid by her with copies of receipts,
       statements and the like to support those expenses to Ms. Peterson for
        review, and include copies to all counsel, the GAL and Mr. Dain.
        Objections shall be brought to Ms. Peterson's attention, who shall
       determine whether the expenses or any one of them should be
        reimbursed. Ms. Peterson may file a petition for approval before
       disbursing any of the funds under her control to Ms. Wrigley. Any
        reimbursements which cannot be paid from the funds under Ms.
        Peterson's control may be paid from Trust funds, after a specific request
        has been made to this Court by the Trustee as previously described.

    13. The Court finds an evidentiary hearing is required to resolve what the
        Court has identified as the fundamental issues in this matter: whether the
        disclaimer obtained by Mr. Black as to the accounts at Fidelity and
        Vanguard POD to Joanne Black should have acted to divest Ms. Black of
        1/3 of these non-probate assets. Hearing will also determine whether it
        was properly disclosed that Mr. Black intended or had authority to redirect
        one-third of these non-probate assets, left in their entirety to Ms. Black, to
        persons other than Ms. Black. As part of these proceedings, the Court will
        determine whether the allegations of breach of fiduciary duty are
        supported by the evidence and whether any disgorgement or unwinding of
        fiduciary actions, including the creation of trusts is appropriate. Hearing on
        these issues is scheduled on June 16 and 17, 2015 commencing at 9:00
        a.m.




                                          4
Case: 1:17-cv-00101 Document #: 56-4 Filed: 06/12/17 Page 6 of 6 PageID #:452




    14. It is this Court's intention to resolve the issues identified in this Order and
        to then transfer the conservatorship to the jurisdiction of the Court in New
        York, under the fiduciary appointed by that Court.
                                 nd
 DONE IN OPEN COURT this 2            day of April, 2015.

                                             BY THE COURT:




                                             ElibethD. Leith
                                             JUDGE
                                             Denver Probate Court




                                                             PR<J.,,r,
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